Case 2:21-cv-05892-SB-AFM Document 23 Filed 11/10/21 Page 1 of 1 Page ID #:174



      JS-6
                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES - GENERAL


Case No.: 2:21-cv-05892-SB-AFM                                Date:    11/10/2021


Title:    Menachem Halperin v. Ford Motor Co. et al.


Present: The Honorable       STANLEY BLUMENFELD, JR., U.S. District Judge
                  Victor Cruz                                       N/A
                  Deputy Clerk                                 Court Reporter

    Attorney(s) Present for Plaintiff(s):           Attorney(s) Present for Defendant(s):
                      N/A                                             N/A

Proceedings:       ORDER OF DISMISSAL

         The parties filed a notice of settlement on November 9, 2021. This action is
  therefore dismissed in its entirety without prejudice. For 90 days from the date of
  this order, the Court retains jurisdiction to vacate this order and to reopen the
  action nunc pro tunc on motion of any party. Any such motion shall include a
  reasonably detailed declaration of due diligence in attempting to complete the
  settlement. By operation of this order and without further court action, the
  dismissal in this case will convert to a dismissal with prejudice on the 91st day,
  absent a timely motion to vacate and reopen. If the case is reopened, the parties
  should be prepared for an expedited trial schedule.




  CV-90 (12/02)                     CIVIL MINUTES – GENERAL           Initials of Deputy Clerk VPC

                                              1
